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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



KOLEAN ENGLAND,

               Plaintiff,                                   Hon. Janet T. Neff

v.                                                          Case No. 1:17-cv-185

JAMES O’BRIANT,

            Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

               This matter is before the Court on Plaintiff’s Motion for Summary Judgment. (ECF

No. 22). Pursuant to 28 U.S.C. ' 636(b)(1)(B), the undersigned recommends that Plaintiff’s motion

be denied.



                                         BACKGROUND

               The following allegations are contained in Plaintiff’s complaint. In October 2010,

Plaintiff retained Defendant, who was then licensed to practice law in Michigan, to file a malpractice

action against another attorney. Plaintiff paid Defendant twenty thousand dollars ($20,000.00) for

his services. During the pendency of this action, Plaintiff retained Defendant to pursue a second

action against Oaklawn Hospital alleging violation of Plaintiff’s rights under the Health Insurance

Portability and Accountability Act of 1996 (HIPAA). Defendant failed to professionally pursue

either action and eventually dismissed both matters with prejudice without first obtaining Plaintiff’s


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consent.   After learning of Defendant’s conduct, Plaintiff filed a complaint with the Michigan

Attorney Grievance Commission which ultimately found Defendant guilty of professional misconduct

in several matters, including Plaintiff’s two matters.     As a result, Plaintiff was disbarred from

practicing law in the state of Michigan. Plaintiff initiated the present action against Defendant on

February 22, 2017, alleging state law claims for professional negligence and fraud. Defendant has

failed to respond to Plaintiff’s motion.



                              SUMMARY JUDGMENT STANDARD

               Summary judgment Ashall@ be granted Aif the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.@ Fed. R.

Civ. P. 56(a). A party moving for summary judgment can satisfy its burden by demonstrating Athat

the respondent, having had sufficient opportunity for discovery, has no evidence to support an essential

element of his or her case.@ Minadeo v. ICI Paints, 398 F.3d 751, 761 (6th Cir. 2005). Once the

moving party demonstrates that Athere is an absence of evidence to support the nonmoving party=s

case,@ the non-moving party Amust identify specific facts that can be established by admissible

evidence, which demonstrate a genuine issue for trial.@ Amini v. Oberlin College, 440 F.3d 350, 357

(6th Cir. 2006).

               While the Court must view the evidence in the light most favorable to the non-moving

party, the party opposing the summary judgment motion Amust do more than simply show that there

is some metaphysical doubt as to the material facts.@ Amini, 440 F.3d at 357. The existence of a

mere Ascintilla of evidence@ in support of the non-moving party=s position is insufficient. Daniels v.

Woodside, 396 F.3d 730, 734-35 (6th Cir. 2005). The non-moving party Amay not rest upon [his]


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mere allegations,@ but must instead present Asignificant probative evidence@ establishing that Athere is

a genuine issue for trial.@ Pack v. Damon Corp., 434 F.3d 810, 813-14 (6th Cir. 2006).

               Moreover, the non-moving party cannot defeat a properly supported motion for

summary judgment by Asimply arguing that it relies solely or in part upon credibility determinations.@

Fogerty v. MGM Group Holdings Corp., Inc., 379 F.3d 348, 353 (6th Cir. 2004). Rather, the non-

moving party Amust be able to point to some facts which may or will entitle him to judgment, or refute

the proof of the moving party in some material portion, and. . .may not merely recite the incantation,

>Credibility,= and have a trial on the hope that a jury may disbelieve factually uncontested proof.@ Id.

at 353-54. In sum, summary judgment is appropriate Aagainst a party who fails to make a showing

sufficient to establish the existence of an element essential to that party=s case, and on which that party

will bear the burden of proof at trial.@ Daniels, 396 F.3d at 735.

               While a moving party without the burden of proof need only show that the opponent

cannot sustain his burden at trial, a moving party with the burden of proof faces a Asubstantially higher

hurdle.@ Arnett v. Myers, 281 F.3d 552, 561 (6th Cir. 2002). Where the moving party has the burden,

Ahis showing must be sufficient for the court to hold that no reasonable trier of fact could find other

than for the moving party.@ Calderone v. United States, 799 F.2d 254, 259 (6th Cir. 1986). The

Sixth Circuit has emphasized that the party with the burden of proof Amust show the record contains

evidence satisfying the burden of persuasion and that the evidence is so powerful that no reasonable

jury would be free to disbelieve it.@ Arnett, 281 F.3d at 561. Accordingly, summary judgment in

favor of the party with the burden of persuasion Ais inappropriate when the evidence is susceptible of

different interpretations or inferences by the trier of fact.@ Hunt v. Cromartie, 526 U.S. 541, 553

(1999).


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                                              ANALYSIS

I.             Subject Matter Jurisdiction

               Before addressing Plaintiff’s motion, a brief word concerning the Court’s jurisdiction

is appropriate. In her complaint, Plaintiff alleges that the Court has jurisdiction over her claims

pursuant to 28 U.S.C. § 1331, which provides that the Court has jurisdiction over civil actions arising

under “the Constitution, laws, or treaties of the United States.” This is commonly known as federal

question jurisdiction. While Plaintiff cites to the Sixth Amendment in her complaint, her claims arise

under state law. As Plaintiff expressly alleges, Defendant committed legal malpractice and fraud,

matters which arise under state law. While the Court cannot properly exercise federal question

jurisdiction in this matter, jurisdiction is nevertheless proper in this Court based upon diversity of

citizenship. See 28 U.S.C. § 1332. Plaintiff and Defendant are citizens of different states and

Plaintiff has alleged damages well in excess of $75,000. Thus, the Court finds that it can properly

exercise jurisdiction over the subject matter of Plaintiff’s complaint.



II.            Professional Malpractice

               Under Michigan law, the elements of a legal malpractice claim are as follows: (1) the

existence of an attorney-client relationship; (2) negligence in the legal representation of the plaintiff;

(3) the negligence was a proximate cause of an injury; and (4) the fact and extent of the injury alleged.

See Bowden v. Gannaway, 871 N.W.2d 893, 895 (Mich. Ct. App. 2015). To establish proximate

cause, Plaintiff “must show that but for the attorney’s alleged malpractice, [she] would have been

successful in the underlying suit.” Id.




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               In support of her motion for summary judgment, Plaintiff has submitted two items of

evidence: (1) the written report authored by the State of Michigan Attorney Discipline Board regarding

the various claims of misconduct asserted against Defendant; and (2) the order of disbarment entered

by the State of Michigan Attorney Discipline Board. (ECF No. 22 at PageID.74-84). Plaintiff also

attached to her complaint an affidavit. (ECF No. 1 at PageID.8).

               While this evidence is sufficient to establish the first two elements of Plaintiff’s

malpractice claim, Plaintiff has presented no evidence establishing the last two elements.

Specifically, Plaintiff has presented no evidence demonstrating that but for Defendant’s misconduct

she would have prevailed in either of the legal actions in question. Likewise, Plaintiff has presented

no evidence establishing the nature and extent of any injury she allegedly suffered. The State of

Michigan Attorney Discipline Board made no findings with respect to these particular elements. The

Court also notes that according to the State of Michigan Attorney Discipline Board report, Defendant

has already repaid to Plaintiff the twenty thousand dollars ($20,000.00) he was initially paid. (ECF

No. 22 at PageID.80). In sum, Plaintiff has failed to demonstrate that she is entitled to prevail on this

particular claim.



III.           Fraud

               Under Michigan law, to prevail on her claim of fraud, Plaintiff must establish the

following elements: (1) Defendant made a material representation; (2) the representation was false;

(3) when Defendant made the representation he knew it was false, or made it recklessly, without any

knowledge of its truth and as a positive assertion; (4) that Defendant made the assertion with the

intention that it should be acted upon by Plaintiff; (5) Plaintiff acted in reliance upon the assertion;


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and (6) she suffered an injury as a result. See Titan Ins. Co. v. Hyten, 817 N.W.2d 562, 568 (Mich.

2012). The evidence submitted by Plaintiff is simply insufficient to establish these various elements.

Again, the State of Michigan Attorney Discipline Board made no findings with respect to these

particular elements. Moreover, Plaintiff’s affidavit is insufficient to satisfy these elements. In sum,

Plaintiff has failed to demonstrate that she is entitled to prevail on this particular claim.



                                            CONCLUSION

                For the reasons articulated herein, the undersigned recommends that Plaintiff’s Motion

for Summary Judgment, (ECF No. 22), be denied.

                OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within fourteen (14) days of the date of service of this notice. 28 U.S.C. ' 636(b)(1)(C).

Failure to file objections within the specified time waives the right to appeal the District Court=s order.

See Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir.1981).

                                                                Respectfully submitted,




Date: September 18, 2017                                         /s/ Ellen S. Carmody
                                                                ELLEN S. CARMODY
                                                                United States Magistrate Judge




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